 Case 3:17-cv-02355-X Document 37 Filed 10/08/19     Page 1 of 1 PageID 240

                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

ALICIA G. SHIVE,          §
               Plaintiff, §
v.                        § Civil Action No. 3:17-cv-2355-X
                          §
MERRIAM INVESTMENTS, LLC, §
ELTMAN LAW, P.C.,         §
CAITLIN BOYLE, and        §
MERRIMAN INVESTMENTS, LLC §
             Defendants.  §


      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

TO THE HONORABLE BRADLEY STARR, UNITED STATES DISTRICT
JUDGE:

   Pursuant to Rule 41(a)(1)(B) the parties stipulate to the dismissal of all
claims of all parties with prejudice.


Dated: October 7, 2019

Respectfully submitted,

/s/ Gary N. Schepps                            /s/ Kevin T. Crocker
Gary N. Schepps                                Kevin T. Crocker
Texas Bar No. 00791608                         Texas Bar No. 05087250
Drawer 670804                                  Manuel H. Newburger
Dallas, Texas 75367                            Texas Bar No. 14946500
                                               Barron & Newburger, P.C.
(972) 200-0000 - Telephone
                                               7320 N. MoPac Expy., Ste. 400
(972) 200-0535 - Facsimile
                                               Austin, Texas 78731
legal@schepps.net                              (512) 649-2417 [Direct]
                                               (512) 476-9103 [Main]
Counsel for Plaintiff                          (512) 279-0310 [Fax]
                                               kcrocker@bn-lawyers.com

                                               Counsel for Defendants




JOINT STIPULATION OF DISMISSAL WITH PREJUDICE                           PAGE 1
